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UNITED STATES I)ISTRICT COURT
DISTRICT OF COLUMBIA

 

JOSEPH CACCIAPELLE and MELVIN
BAREISS , C)n Behalf of Thernselves and All Case No.
Others Similarly Situated,

Plaintiff,

V.

FEDERAL NATIONAL MORTGAGE JURY TRIAL DEMANDED
ASSOCIATION, FEDERAL HOl\/IE LOAN
MORTGAGE CORPORATION, and
FEDERAL HOUSING FINANCE
ADMINISTRATION, as Conservator of
Federal National l\/lortgage Association and
Federal Home Loan Mortgage Corporation,

Defendants.

 

 

CLASS ACTION COMPLAINT

Plaintiffs Joseph Cacciapelle and l\/Ielvin Bareiss (collectively, “Plaintiffs”), by the
undersigned attorneys, submit this Class Action Cornplaint against the defendants named herein.

NATURE AND SUMMARY OF THE ACTI()N

l. This is a class action brought by Plaintiffs on behalf of themselves and a class (the
“Class,” as defined herein) of holders of preferred stock issued by either the Federal National
l\/lortgage Association (“Fannie Mae” or “Fannie”) or the Federal Home Loan l\/lortgage
Corporation (“Freddie Mac” or “Freddie”), seeking damages from Fannie Mae and Freddie l\/Iac
for breach of contract and breach of the implied covenant of good faith and fair dealing This

complaint also seeks damages from the Federal Housing Finance Administration (“FHFA”), as

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conservator (“Conservator”) for both Fannie and Freddie. The background and essential facts
relevant to all of these claims is summarized below.

2. In September of 2008, the United States Government (the “Government”), acting
through the FHFA, placed Fannie l\/lae and Freddie Mac into conservatorship, putting them
under the control of the FHFA, Which is an agency of the Government. HoWever, by placing
Fannie and Freddie into conservatorship, and not into receivership, the FHFA committed to the
continued operation of Fannie and Freddie, rather than their liquidation (as Would have occurred
under receivership). Moreover, While Fannie and Freddie Were fully controlled by FHFA during
the conservatorship, they continued to exist as independent corporate entities, With their own
boards of directors, and the FHFA made clear that the common and preferred stock in Fannie and
Freddie Would remain outstanding Indeed, the Whole point of conservatorship (as opposed to
receivership and liquidation) is to restore the companies to a stable and secure position, so that
the conservatorship can end and the companies can be returned to normal business operations
At the time of the conservatorship, that is how the FHFA described the goal of the
conservatorship, and that is Why the FHFA stated that common and preferred stock Would
remain outstanding Thus, the stock of Fannie and Freddie has continued to be publicly traded
since the conservatorship, and Fannie and Freddie have continued to make SEC filings, even as
they have remained under the full control of the FHFA.

3. In connection With the conservatorships, the Government (specifically, the U.S.
Treasury) entered into substantially identical Preferred Stock Purchase Agreements (the
“Agreements”) with both F annie Mae and Freddie Mac. Under these Agreements, the Treasury
acquired from each company preferred stock (the “Senior Preferred Stock”) that (i) is senior in

priority to all other series of Fannie Mae and Freddie Mac preferred stock (all such other series

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of Fannie and Freddie preferred stock shall be referred to as the “Junior Preferred Stock”), (ii)
was given an initial face value of 81 billion, but also provided that this face value would be
increased by any amount the Treasury invested in or advanced to Fannie Mae or Freddie Mac,
(iii) would receive preferential liquidation rights (i.e., would receive face value, as increased by
any Treasury investments or advances, as a liquidation preference prior to anything going to the
holders of Junior Preferred Stock or Common Stock), and (iv) would earn an annual dividend of
10% of the face value (as increased by any Treasury investments or advances). In addition, each
of the Agreements provided the Treasury with warrants that could be exercised at any time to
allow the Treasury to acquire 79.9% of the Common Stock of Fannie and Freddie, respectively,
for a nominal price.

4. Between the start of the conservatorship in September 2008 through the beginning
of 2012, the Government advanced Fannie Mac and Freddie Mac more than $188 billion_most
of which was advanced to cover accounting losses reflecting excessive write-downs of assets that
have turned out to be worth far more than their written down amounts These advances
increased the face value of the Senior Preferred Stock held by the Government to approximately
$189 billion, entitling the Government to an annual dividend of approximately $19 billion, which
translates to a quarterly dividend of just under $5 billion.

5. By 2012 the housing market was well on its way to recovery and Fannie l\/lae and
Freddie Mac had become profitable again, reporting increasing profits through 2011 and 2012.
Indeed, by the second quarter of 2012, Fannie and Freddie made a combined quarterly profit of
approximately $8.3 billion. This was the first quarter for which Fannie and Freddie reported a
combined quarterly profit that exceeded the (just under) $5 billion quarterly dividend payable to

the Treasury on its Senior Preferred Stock. Thus, by no later than the end of the second quarter

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of 2012, Fannie and Freddie were generating sufficient profits to pay a dividend to the holders of
their Junior Preferred Stock. And there was ample cause to expect that those profits were likely
to grow substantially, as they in fact have done during the past year. The Government was well»
positioned to enjoy the benefit of those profits, since it was entitled to the 10% cumulative
dividend on its Senior Preferred Stock, and to 79.9% of any dividends distributed to the common
stock (which it had the right to acquire at a nominal price). However, the Govermnent was not
content with this-perhaps because the dividends on the 79.9% of common it effectively owned
could not be paid until after dividends were paid on the privately-held Junior Preferred Stock.
Thus, rather than allow any dividends to be distributed to the Junior Preferred Stockholders,
Fannie, Freddie, and the Government acted immediately in August 2012 to eliminate the rights
of the holders of Junior Preferred Stock to ever receive any distribution of value from Fannie or
Freddie.

6. Specifically, on August 17, 2012, Fannie Mae and Freddie Mac, through their
Conservator FHFA, amended the terms of their Agreements with the Treasury to provide that
beginning on January l, 2013, Fannie Mae and Freddie Mac would pay the Government
dividends equal to their entire net worth (the “Net Worth Sweep”), leaving Fannie l\/lae and
Freddie Mac with no funds to redeem the Government’s Senior Preferred Stock or to distribute
to the holders of Junior Preferred Stock, whether by dividend, redemption, or in a liquidation
lndeed, since the Government’s Preferred Stock Purchase Agreements provided that in the event
of a liquidation of Fannie or Freddie, the Government would receive a liquidation preference that
included the amount of any prior unpaid dividend, the Net Worth Sweep guaranteed that even if

Fannie or Freddie were liquidated (which is not the purpose of the conservatorship, and which

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the FHFA has never announced plans to do) the Government (i'.e., Treasury) would receive the

full amount of the institutions’ net worth in that liquidation

7. The August 2012 action, which Fannie, Freddie, and the Government effectuated

without seeking or obtaining the consent of the Junior Preferred Stockholders as required by the

terms of the Junior Preferred Stock, eliminated the valuable contractual rights owned by the

holders of Junior Preferred Stock. Specifically, the rights of the Junior Preferred Stockholders

that were nullified by the Government’s action included the rights:

3,.

to receive dividend payments from Fannie Mae and Freddie Mac.
Dividends were owed to the Junior Preferred Stockholders to the extent
Fannie and Freddie had profits in excess of the amount required to pay
dividends to the Government on its Senior Preferred Stock. In such a
scenario, no dividends could be paid to holders of common stock,
including the Government’s 79.9% stake in such common stock, without
first paying dividends to the lunior Preferred Stockholders. As of the
second quarter of 2012, ensuing quarters to the date of this filing, and for
most if not all quarters for the foreseeable future, Fannie and Freddie’s
profits in fact exceeded such amounts;

to receive a liquidation distribution upon dissolution, liquidation, or
winding up of Fannie l\/lae and Freddie Mac, which while junior to the
Senior Preferred Stock was still worth billions of dollars, given Fannie and
Freddie’s return to profitability and the rebound in the housing market;
and

to otherwise participate, even to a limited extent, in the profits of Fannie
and Freddie, whether through dividends, redemptions, liquidation, or
otherwise; and

to vote on any changes to the Junior Preferred Stock that were materially
adverse to the Junior Preferred Stockholders.

8. Plaintiffs and other members of the Class paid valuable consideration to acquire

these rights, and in doing so helped provide financial support for Fannie and Freddie, both before

and after the conservatorship, by contributing to a viable market for Fannie’s and Freddie’s

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issued securities lndeed, the contractual rights owned by the holders of Junior Preferred Stock
were worth billions of dollars prior to being eliminated in August 2012.

9. Fannie and Freddie breached their contracts with the Junior Preferred
Stockholders and breached the covenant of good faith and fair dealing inherent in those contracts
by eliminating the Junior Preferred Stockholders’ contractual rights without their consent By
causing these breaches through its conduct as Conservator, FHFA is also liable for Fannie and
Freddie’s breach of contract and breach of the implied covenant of good faith and fair dealing

lO. The current projections for Fannie and Freddie’s continued profitability show that
over approximately the next year, Fannie and Freddie will be able to repay to the Treasury 100%
of the money they received from the Treasury, plus the required 10% annual dividend That
means that but for the Net Worth Sweep, Fannie and Freddie would be in position to pay billions
of dollars in profits to the holders of Junior Preferred Stock for years to come. lnstead, because
of the Net Worth Sweep, the Treasury will now receive tens of billions of dollars (if not
hundreds of billions of dollars) in excess of the amount it was entitled to receive under the
original Agreements, and the Junior Preferred Stockholders will receive nothing

11. On July 10, 2013, the above-named Plaintiffs filed a class action complaint in the
Court of Federal Claims (“CFC Complaint”) seeking just compensation from the United States
for the appropriation of their property rights caused by the August 2012 Third Amendment. This
case advances alternative claims for relief based on the same conduct alleged in Plaintiffs’ CFC
Complaint. The CFC Complaint alleges that the Third Amendment was not an arm’s length
agreement entered into by two independent parties, but instead was imposed by two arms of the
Government (the Treasury and the FHFA) acting in concert, and therefore was a unilateral action

taken by the Government to appropriate the private property rights held by the Junior Preferred

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Stockholders This complaint alleges that the Third Amendment was also a contractual breach
by Fannie Mac and Freddie Mac of the Fannie and _Freddie agreements governing all of the
Junior Preferred Stock.

l2. Plaintiffs do not seek a double recovery; but they do seek to ensure that the
Plaintiffs and the Class receive the compensation they are owed--either as just compensation
paid by the Government for its appropriation of their private property (the CFC Complaint) or as
breach of contract damages paid by Fannie, Freddie, and/or FHFA. Moreover, to the extent the
Government seeks to defend the CFC Complaint by claiming that the FHFA was not acting as an
arm of the Government when it agreed to the Third Amendment, then it must concede that
FHFA, Fannie, and Freddie can be sued as non~governmental entities in this case. By contrast,
to the extent the defendants in this case assert immunity based on the FHFA’s status as a
government agency, that will confirm that the Third Amendment was the unilateral act of the
Government, and thereby confirm the allegations of the CFC Complaint.

JURISDICTION AND VENUE

13. This Court has subject matter jurisdiction over this action pursuant to 12 U.S.C.
§§ 1452(0), l723a(a), and 4617. In addition, this Court has subject matter jurisdiction under 28
USC 1332(d)(2)(A) in that plaintiffs and defendants are citizens of different states and the matter
in controversy exceeds 85 million, exclusive of interests and costs. The Court also has
supplemental jurisdiction over the state law claims asserted herein pursuant to 28 U.S.C. §
1367(a).

14. Venue is proper in this district because a substantial portion of the transactions
and wrongs complained of herein, including the defendants’ primary participation in the

wrongful acts detailed herein, occurred in this district. One or more of the defendants either

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resides in or maintains executive offices in this district, and defendants have engaged in
numerous activities and conducted business here, which had an effect in this district.

THE PARTIES

15. Plaintiff Joseph Cacciapelle, a citizen of the State of New Jersey, is a holder of
Fannie Mae Junior Preferred Stock and Freddie Mac Junior Preferred Stock, was a holder of
Fannie Mae Junior Preferred Stock and Freddie Mac Junior Preferred Stock prior to September
6, 2008, including prior to and on August 17, 2012, and has been a holder of Fannie l\/lae Junior
Preferred Stock and Freddie Mac Junior Preferred Stock continuously since then.

16. Plaintiff l\/Ielvin Bareiss, a citizen of the State of Kansas, is a holder of Fannie
Mae Junior Preferred Stock, was a holder of Fannie Mac Junior Preferred Stock prior to
September 6, 2008, including prior to and on August 17, 2012, and has been a holder of Fannie
Mac Junior Preferred Stock continuously since then.

17 . Defendant Fannie l\/lae is a federally chartered Government-Sponsored Enterprise
(“GSE”) with its principal executive offices located at 3900 Wisconsin Avenue, NW,
Washington, DC, and therefore is a citizen of the District of Columbia.

18. Defendant Freddie Mac is a federally chartered GSE with its principal executive
offices located at 8200 Jones Branch Drive, McLean, Virginia, and therefore is a citizen of the
Commonwealth of Virginia.

19. Defendant FHFA, as Conservator of Fannie l\/lae and Freddie Mac, is a
Government agency with its headquarters located at 400 Seventh Street, SW, Washington, DC,

and therefore is a citizen of the District of Columbia.

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CLASS ACTION ALLEGATIONS

20. Plaintiffs bring this action on their own behalf and as a class action on behalf of
those who held shares of Fannie l\/lae and/or Freddie Mac Junior Preferred Stock prior to, and as
of, the public announcement of the Net Worth Sweep on August 17, 2012 (the “Class”).

21. This action is properly maintainable as a class action.

22. The Class is so numerous that joinder of all members is impracticable As of
August l"/', 2012, there were hundreds of millions of shares of Fannie Mae and Freddie Mac
Junior Preferred Stock outstanding Upon information and belief, there are thousands of
members of the Class.

23. There are questions of law and fact which are common to the Class, including, but
not limited to;

a. Whether defendants breached their contracts with Plaintiffs and the
members of the Class and breached the implied covenants of good faith
and fair dealing inherent in those contracts; and

b. Whether defendants are liable for damages to Class members for
defendants’ breaches of contract and breaches of the implied covenant of
good faith and fair dealing

24. Plaintiffs are committed to prosecuting this action and have retained competent
counsel experienced in litigation of this nature. Plaintiffs’ claims are typical of claims of the
other members of the Class and Plaintiffs have the same interests as the other members of the
Class, all of whom seek damages for defendants’ breaches of contract and breaches of the
implied covenant of good faith and fair dealing, which affected all Fannie Mae and Freddie Mac
Junior Preferred Stockholders in the same manner. Accordingly, Plaintiffs are adequate

representatives of the Class and will fairly and adequately protect the interests of the Class,

including the holders of all series of Fannie Mae and Freddie Mac Junior Preferred Stock, all of

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whom suffered the same injury to their contractual rights to receive dividends, liquidation
distributions, or any other form of distribution on their Junior Preferred Stock.

25. The prosecution of separate actions by the individual members of the Class would
create a risk of inconsistent or varying adjudications with respect to the individual Class
members that would establish incompatible standards of conduct for defendants.

26. Defendants have acted on grounds that apply generally to the Class, such that
relief is appropriate respecting the Class as a whole. The Net Worth Sweep was a breach of
contract and breach of the implied covenant of good faith and fair dealing that unlawfully
eliminated the rights of all Fannie l\/lae and Freddie l\/Iac Junior Preferred Stockholders who
owned Junior Preferred Stock as of August 17, 2012.

27. The questions of law and fact common to the members of the Class predominate
over any questions affecting only its individual members, such that a class action is superior to
any other available method for fairly and efficiently adjudicating the controversy

Background of Fannie Mae, Freddie Mac, and Their Preferred Stock

28. Fannie Mae was created by federal statute in 1938, at the request of President
Franklin Delano Roosevelt, in an effort to provide a much needed supply of capital to the
nation’s home mortgage industry lnitially, it was authorized to purchase only those mortgages
which were insured by the Federal Housing Administration (“FHA”). For the first thirty years of v
its existence, Fannie Mae existed and was operated by the Federal Government

29. In 1968, Fannie Mae was privatized pursuant to the Housing and Urban
Development Act of 1968. That Act effectively partitioned the Federal National l\/lortgage
Association into two separate and distinct entities: the reconstituted Fannie Mae and the

Government National l\/lortgage Association (“Ginnie Mae”). Fannie l\/lae was reorganized as a

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Government-sponsored private corporation and was to serve the self~supporting secondary
mortgage market. lt was also authorized to purchase mortgages beyond merely FHA~insured
mortgages The other entity, Ginnie l\/lae, continued as a Federal Agency and was responsible
for the then~existing special assistance programs

30. From 1968 until the events described in this Complaint, Fannie l\/lae has been
publicly traded on the New York Stock Exchange and therefore owned by private shareholders
and has obtained funding from private capital on a self~sustaining basis

31. In the Emergency Home Finance Act of 1970, Congress created Freddie Mac and
authorized it to create a secondary market for conventional mortgages According to its Form
lO-K for the fiscal year ended December 31, 2012, filed with the Securities and Exchange
Commission (“SEC”) on February 28, 2013, Freddie Mac’s “public mission [is] to provide
liquidity, stability, and affordability to the U.S. housing market.”

32. In 1992, Congress passed the Federal Housing Enterprises Financial Safety and
Soundness Act of 1992 (the “Safety and Soundness Act”). The Safety and Soundness Act
created the Office of Federal Housing Enterprise Oversight (“OFHEO”) as the new regulator for
Fannie l\/Iae and Freddie Mac, imposed minimum capital requirements on Fannie l\/lae and
Freddie Mac, and provided OFHEO with the authority to impose a conservatorship in the event
that Fannie Mae or Freddie Mac became critically undercapitalized, as defined by the statute.

33. In July of 2008, Congress enacted the l-Iousing and Economic Recovery Act of
2008 (the “2008 Act”). The 2008 Act created the FHFA as the successor to OFHEO, and
provided the FHFA with expanded regulatory powers over Fannie Mae and Freddie Mac. In

addition, the 2008 Act authorized the FHFA to order either of the GSES into receivership, as well

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as providing greater guidance regarding the statutory basis for appointing a conservator for either
of the GSES.

34. Although they are charted by Congress and have a public mission, prior to
September 6, 2008, Fannie Mae and Freddie l\/lac were non-governmental, publicly traded
corporations owned by their stockholders Prior to September 6, 2008, both Fannie l\/lae and
Freddie l\/lac raised substantial amounts of capital from private investors in order to fund their
operations As shown below, one of the ways both Fannie l\/Iae and Freddie Mac raised capital
was by issuing preferred stock.

35. Prior to September 6, 2008, Fannie l\/Iae had issued several series of preferred

stock with various dividend rates and stated values, including:

a. Series D 5.25% Non-Cumulative Preferred Stock with a stated value of
$50 per share;

b. Series E 5.1% Non~Cumulative Preferred Stock with a stated value of 850
per share;

c. Series F Variable Rate Non-Cumulative Preferred Stock with a stated

value of $50 per share;

d. Series G Variable Rate Non~Cumulative Preferred Stock with a stated
value of $50 per share;

e. Series H 5.81% Non-Cumulative Preferred Stock with a stated value of
350 per share;

f. Series I 5.375% Non~Cumulative Preferred Stock with a stated value of
$50 per share;

g. Series L 5.125% Non-Cumulative Preferred Stock with a stated value of
850 per share;

h. Series M 4.75% Non~Cumulative Preferred Stock with a stated value of
$50 per share;

i. Series N 5.5% Non-Cumulative Preferred Stock with a stated value of $5 0
per share;

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Series O Variable Rate Non~Cumulative Preferred Stock with a stated
value of 850 per share;

Series P Variable Rate Non~Cumulative Preferred Stock with a stated
value of 825 per share;

Series Q 6.75% Non~Cumulative Preferred Stock with a stated value of
825 per share;

Series R 7.625% Non-Cumulative Preferred Stock with a stated value of
825 per share;

Series S Variable Rate Non~Cumulative Preferred Stock with a stated
value of 825 per share;

Series T 8.25% Non~Cumulative Preferred Stock with a stated value of
825 per share; and

Series 2004-l 5.375% Non-Cumulative Convertible Preferred Stock with
a stated value of 8100,000 per share.

36. Prior to September 6, 2008, Freddie Mac had issued several series of preferred

stock with various dividend rates and stated values, including:

a.

Series B Variable Rate Non~Cumulative Preferred Stock with a stated
value of 850 per share;

5.81% Non~Cumulative Preferred Stock with a stated value of 850 per
share (issued 10/27/97);

Series F 5% Non~Cumulative Preferred Stock with a stated value of 850
per share;

Series G Variable Rate Non~Cumulative Preferred Stock with a stated
value of 850 per share;

Series H 5.1% Non~Cumulative Preferred Stock with a stated value of 850
per share;

5.3% Non~Cumulative Preferred Stock with a stated value of 850 per share
(issued 10/28/98);

5.1% Non~Cumulative Preferred Stock with a stated value of 850 per share
(issued 3/19/99); `

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h. Series K 5.79% Non~Cumulative Preferred Stock with a stated value of
850 per share;
i. Series L Variable Rate Non~Cumulative Preferred Stock with a stated

value of 850 per share;

j. Series l\/l Variable Rate Non-Cumulative Preferred Stock with a stated
value of 850 per share;

k. Series O 5.81% Non-Cumulative Preferred Stock with a stated value of
850 per share;

l. Series P 6% Non-Cumulative Preferred Stock with a stated value of 850
per share;

m. Series Q Variable Rate Non~Cumulative Preferred Stock with a stated

value of 850 per share;

n. Series R 5.7% Non~Cumulative Preferred Stock with a stated value of 850
per share;
o. 5.81% Non-Cumulative Preferred Stock with a stated value of 850 per

share (issued 1/29/02);

p. Series S Variable Rate Non~Cumulative Preferred Stock with a stated
value of 850 per share;

q. Series T 6.42% Non-Cumulative Preferred Stock with a stated value of
850 per share;

r. Series U 5.9% Non-Cumulative Preferred Stock with a stated value of 825
per share;

s. Series V 5.57% Non~Cumulative Preferred Stock with a stated value of
825 per share;

t. Series W 5.66% Non~Cumulative Preferred Stock with a stated value of
825 per share;

u. Series X 6.02% Non~Cumulative Preferred Stock with a stated value of
825 per share;

v. Series Y 6.55% Non-Cumulative Preferred Stock with a stated value of

825 per share; and

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w. Series Z Fixed-to~Floating Rate Non~Cumulative Preferred Stock with a
stated value of 825 per share.

37. As shown below, prior to September 6, 2008, each series of F annie Mae preferred
stock ranked on a parity with all other issued and outstanding series of Fannie Mae preferred
stock as to the payment of dividends and the distribution of assets upon dissolution, liquidation,
or winding up of Fannie Mae, and each series of Freddie Mac preferred stock ranked on a parity
with all other issued and outstanding series of Freddie Mac preferred stock as to the payment of
dividends and the distribution of assets upon dissolution, liquidation, or winding up of Freddie
Mac. Thus, the holders of each series of Fannie l\/Iae and Freddie Mac preferred stock had equal
contractual rights to receive their respective dividends, as well as their respective liquidation
preferences (or their respective pro rata portions thereof) upon dissolution, liquidation, or
winding up of Fannie Mae and Freddie l\/lac.

38. Prior to September 6, 2008, Fannie Mae and Freddie Mac each regularly declared
and paid dividends on each series of their respective preferred stock.

39. The Certificate of Designation for each series of Fannie Mae preferred stock
constitutes a contract with provisions governing the holders’ dividend and liquidation rights, and
provides in pertinent part:

2. Dividends.

(a) Holders of record of [the particular series of] Preferred Stock
(each individually a “Holder,” or collectively the “Holders”) will
be entitled to receive, ratably, when, as and if declared by the
Board of Directors, in its sole discretion out of funds legally
available therefor, non-cumulative cash dividends at [the specified

percentage rate] per annum of the [specified] stated value . . . per
share of [the particular series of| Preferred Stock.

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4. Liquidation Rights.

(a) Upon any voluntary or involuntary dissolution, liquidation or
winding up of Fannie l\/lae, after payment or provision for the
liabilities of Fannie Mae and the expenses of such dissolution,
liquidation or winding up, the Holders of outstanding shares of the
[particular series ofj Preferred Stock will be entitled to receive out
of the assets of Fannie Mae or proceeds thereof available for
distribution to stockholders before any payment or distribution of
assets is made to holders of Fannie Mae’s common stock (or any
other stock of Fannie Mae ranking, as to the distribution of assets
upon dissolution, liquidation or winding up of Fannie Mae, junior
to the [particular series of] Preferred Stock), the amount of [the
stated value] per share plus an amount . . . equal to the dividend
(whether or not declared) for the then-current quarterly Dividend
Period accrued to but excluding the date of such liquidation
payment, but without accumulation of unpaid dividends on the
[particular series of] Preferred Stock for prior Dividend Periods.

(b) If the assets of Fannie Mae available for distribution in such
event are insufficient to pay in full the aggregate amount payable
to Holders of [the particular series of] Preferred Stock and holders
of all other classes or series of stock of Fannie l\/lae, if any,
ranking, as to the distribution of assets upon dissolution,
liquidation or winding up of Fannie Mae, on a parity with the
[particular series of] Preferred Stock, the assets will be distributed
to the Holders of [the particular series of] Preferred Stock and
holders of all such other stock pro rata, based on the full respective
preferential amounts to which they are entitled (but without, in the
case of any noncumulative preferred stock, accumulation of unpaid
dividends for prior Dividend Periods).

40. Likewise, the Certificate of Designation for each series of Freddie Mac preferred
stock constitutes a contract with provisions governing the holders’ dividend and liquidation
rights, and provides in pertinent part:

2. Dividends

(a) Holders of outstanding shares of Non~Cumulative Preferred
Stock shall be entitled to receive, ratably, when, as and if declared
by the Board of Directors, in its sole discretion, out of funds
legally available therefor, non-cumulative cash dividends at the

[specified] annual rate per share of Non~Cumulative Preferred
Stock.

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7. Liquidation Rights and Preference

(a) Except as otherwise set forth herein, upon the voluntary or
involuntary dissolution, liquidation or winding up of Freddie Mac,
after payment of or provision for the liabilities of Freddie l\/lac and
the expenses of such dissolution, liquidation or winding up, the
holders of the outstanding shares of the Non~Cumulative Preferred
Stock shall be entitled to receive out of the assets of Freddie Mac
available for distribution to stockholders before any payment or
distribution shall be made on the Common Stock or any other class
or series of stock of Freddie l\/fac ranking junior to the Non-
Cumulative Preferred Stock upon liquidation, the amount of [the
stated value] per share plus an amount . . . equal to the dividend, if
any, otherwise payable for the then-current Dividend Period
accrued through and including the date of payment in respect of
such dissolution, liquidation or winding up, and the holders of the
outstanding shares of any class or series of stock of Freddie l\/lac
ranking on a parity with the Non-Cumulative Preferred Stock upon
liquidation shall be entitled to receive out of the assets of Freddie
l\/lac available for distribution to stockholders before any such
payment or distribution shall be made on the Common Stock or
any other class or series of stock of Freddie Mac ranking junior to
the Non~Cumulative Preferred Stock and to such parity stock upon
liquidation, any corresponding preferential amount to which the
holders of such parity stock may, by the terms thereof, be entitled;
provided, however, that if the assets of Freddie Mac available for
distribution to stockholders shall be insufficient for the payment of
the amount which the holders of the outstanding shares of the Non-
Cumulative Preferred Stock and the holders of the outstanding
shares of such parity stock shall be entitled to receive upon such
dissolution, liquidation or winding up of Freddie Mac as aforesaid,
then . . . all of the assets of Freddie Mac available for distribution
to stockholders shall be distributed to the holders of outstanding
shares of the Non-Cumulative Preferred Stock and to the holders of
outstanding shares of such parity stock pro rata, so that the
amounts so distributed to holders of the Non-Cumulative Preferred
Stock and to holders of such classes or series of such parity stock,
respectively, shall bear to each other the same ratio that the
respective distributive amounts to which they are so entitled bear
to each other.

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41. The Certificate of Designation for each series of Fannie Mae preferred stock also
contains the following provisions governing amendments to the terms of the Fannie Mae
preferred stock:

7. Voting Rights; Amendments.

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(b) Without the consent of the Holders of [the particular series of]
Preferred Stock, Fannie Mae will have the right to amend, alter,
supplement or repeal any terms of this Certificate or the [particular
series of] Preferred Stock (l) to cure any ambiguity, or to cure,
correct or supplement any provision contained in this Certificate of
Designation that may be defective or inconsistent with any other
provision herein or (2) to make any other provision with respect to
matters or questions arising with respect to the [particular series of]
Preferred Stock that is not inconsistent with the provisions of this
Certificate of Designation so long as such action does not
materially and adversely affect the interests of the Holders of [the
particular series of] Preferred Stock; provided, however, that any
increase in the amount of authorized or issued [particular series ofj
Preferred Stock or the creation and issuance, or an increase in the
authorized or issued amount, of any other class or series of stock of
Fannie l\/Iae, whether ranking prior to, on a parity with or junior to
the [particular series of] Preferred Stock, as to the payment of
dividends or the distribution of assets upon dissolution, liquidation
or winding up of Fannie l\/lae, or otherwise, will not be deemed to
materially and adversely affect the interests of the Holders of [the
particular series of] Preferred Stock.

(c) Except as set forth in paragraph (b) of this Section 7, the
terms of this Certificate or the [particular series of] Preferred
Stock may be amended, altered, supplemented or repealed only
with the consent of the Holders of at least two-thirds of the
shares of [the particular series of] Preferred Stock then
outstanding given in person or by proxy, either in writing or at a
meeting of stockholders at which the Holders of [the particular
series of] Preferred Stock shall vote separately as a class On
matters requiring their consent, Holders of [the particular series of]
Preferred Stock will be entitled to one vote per share.

(Emphasis added).

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42. Likewise, the Certificate of Designation for each series of Freddie Mac preferred
stock contains the following provisions governing amendments to the terms of the Freddie Mac
preferred stock:

9. Miscellaneous

(h) Preddie Mac, by or under the authority of the Board of
Directors, may amend, alter, supplement or repeal any provision of
this Certificate pursuant to the following terms and conditions:

(i) Without the consent of the holders of the Non-
Cumulative Preferred Stock, Freddie Mac may amend, alter,
supplement or repeal any provision of this Certificate to cure any
ambiguity, to correct or supplement any provision herein which
may be defective or inconsistent with any other provision herein,
or to make any other provisions with respect to matters or
questions arising under this Certificate, provided that such action
shall not materially and adversely affect the interests of the
holders of the Non~Cumulative Preferred Stock.

(ii) The consent of the holders of at least 66 2/3% of all of
the shares of the Non~Cumulative Preferred Stock at the time
outstanding given in person or by proxy, either in writing or by a
vote at a meeting called for the purpose at which the holders of
shares of the Non~Cumulative Preferred Stock shall vote together
as a class, shall be necessary for authorizing effecting or
validating the amendment, alteration, supplementation or repeal
of the provisions of this Certificate if such amendment,
alteration, supplementation or repeal would materially and
adversely ajfect the powers, preferences, rights, privileges,
qualifications limitations, restrictions, terms or conditions of the
Non~Cumulative Preferred Stock. The creation and issuance of
any other class or series of stock, or the issuance of additional
shares of any existing class or series of stock of Freddie Mac
(including the Non-Cumulative Preferred Stock), whether ranking
prior to, on a parity with or junior to the Non~Cumulative Preferred
Stock, shall not be deemed to constitute such an amendment,
alteration, supplementation or repeal.

(Emphasis added).

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43. Thus, the contracts governing all of the Junior Preferred Stock held by the Class
provided that Fannie and Freddie, respectively, were prohibited from amending the terms of any
of the Junior Preferred Stock in a way that was materially adverse to the Junior Preferred
Stockholders The only exception to that requirement was if Fannie or Freddie issued a new
class or series of stock. In executing the Third Amendment, the Fl-IFA, Fannie, and Freddie have
not purported to issue a new series of stock, and therefore the contractual prohibition against
amending the terms of the Junior Preferred Stock in a way that is materially adverse to the Junior
Preferred Stockholders has been violated. Indeed, if the Third Amendment in fact constituted the v
issuance of a new series of stock to the Treasury, then the Third Amendment was illegal, because
the statutory authority allowing the Treasury to acquire new series of stock in Fannie and Freddie
expired at the end of 2009. 12 U.S.C. §§ 1455(l)(4), 1719(g)(4). l\/loreover, as shown below,
there can be no doubt that the Third Amendment not only made “materially adverse” changes to
rights of Junior Preferred Stockholders, but in fact nullified the contractual rights of such
stockholders

The Conservatorships

44. On September 7, 2008, OFHEO’s Director James Lockhart, who then became
director of the FHFA, announced that on the previous day (September 6, 2008), the FHFA had
placed Fannie Mac and Freddie Mac into conservatorship. l\/lr. Lockhart described
“conservatorship” as “a statutory process designed to stabilize a troubled institution with the
objective of returning the entities to normal business operations FHFA will act as the
conservator to operate the Enterprises until they are stabilized.”

45. ln his announcement, Mr. Lockhart explained that “in order to conserve over 82

billion in capital every year, the common stock and preferred stock dividends will be eliminated,

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but the common and all preferred stocks will continue to remain outstanding Subordinated debt
interest and principal payments will continue to be made.” Thus, the conservatorships did not
involve the appropriation of any of the outstanding preferred stock in Fannie Mae or Freddie
l\/lac. While Mr. Lockhart orally stated that dividends would be “eliminated,” there was no
amendment to any of the Certificates of Designation for any of the Fannie Mae or Freddie Mac
Junior Preferred Stock (collectively, the “Certificates”). Thus, this oral announcement by Mr.
Lockhart did not legally modify the contractual rights of the holders of Junior Preferred Stock.
Moreover, as shown below, both l\/lr. Lockhart’s announcement and the terms of the agreements
executed between the Treasury and the FHFA contemplated that future dividends could
potentially be paid on the Junior Preferred Stock if the institutions returned to profitability

46. Mr. Lockhart’s announcement also made clear that the conservatorships would be
run with a view to attracting continued private investment into Fannie Mac and Freddie l\/Iac:
“Some of the key regulations will be minimum capital standards prudential safety and soundness
standards and portfolio limits lt is critical to complete these regulations so that any new investor
will understand the investment proposition.”

47. Also on September 7, 2008, Treasury Secretary Henry Paulson announced that in
connection with the conservatorships, Fannie Mae and Freddie Mac had entered into the
Agreements with the Treasury Department pursuant to which the Treasury Department would
receive a newly-issued series of preferred stock that would be senior in priority to all the issued
and outstanding series of Fannie l\/lae and Freddie Mac preferred stock. Mr. Paulson explained
that “With this agreement, Treasury receives senior preferred equity shares and warrants that
protect taxpayers Additionally, under the terms of the agreement, common and preferred

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shareholders bear losses ahead of the new government senior preferred shares l\/lr. Paulson

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made clear that “conservatorship does not eliminate the outstanding preferred stock, but does
place preferred shareholders second, after the common shareholders in absorbing losses.”

48. Also on September 7, 2008, the Treasury Department issued a “Fact Sheet”
describing the Agreenients and explaining that the Agreements “provide significant protections
for the taxpayer, in the form of senior preferred stock with a liquidation preference, an upfront 81
billion issuance of senior preferred stock with a lO% coupon from each GSE, quarterly dividend
payments warrants representing an ownership stake of 79.9% in each GSE going forward, and a
quarterly fee starting in 2010.”

49. The Fact Sheet further stated that “The agreements are contracts between the y
Department of the Treasury and each GSE.” lt then summarized the terms of the Agreements,
and clearly itemized each form of compensation being received by Treasury under the
Agreements:

ln exchange for entering into these agreements with the GSEs,
Treasury will immediately receive the following compensation:

0 81 billion of senior preferred stock in each GSE

0 Warrants for the purchase of common stock of each GSE
representing 79.9% of the common stock of each GSE on a fully-
diluted basis at a nominal price

' The senior preferred stock shall accrue dividends at 10% per
year. The rate shall increase to 12% if, in any quarter, the
dividends are not paid in cash, until all accrued dividends have
been paid in cash.

~ The senior preferred stock shall not be entitled to voting rights
ln a conservatorship, voting rights of all stockholders are vested in
the Conservator.

~ Beginning March 31, 2010, the GSES shall pay the Treasury on
a quarterly basis a periodic commitment fee that will compensate
the Treasury for the explicit support provided by the agreement
The Secretary of the Treasury and the Conservator shall determine

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the periodic commitment fee in consultation with the Chairman of
the Fedei'al Reserve. This fee may be paid in cash or may be added
to the senior preferred stock.

50. ln addition, the Fact Sheet summarized a series of “covenants” made by Fannie
l\/lae and Freddie Mac to Treasury as part of the Agreements, including the covenant that,
“Without the prior consent of the Treasury, the GSEs shall not ...... l\/lake any payment to
purchase or redeem its capital stock, or pay any dividends including preferred dividends (other
than dividends on the senior preferred stock).” Notably, there was no covenant that prohibited
any future payment of dividends to holders of the Junior Preferred Stock; nor was there any
indication at all that the Treasury would refuse to consent to any dividends ever being paid on
the Junior Preferred Stock even if Fannie and Freddie returned to profitability and were able to
repay the Treasury its entire investment plus a substantial profit. Moreover, there was no
covenant preventing Junior Preferred Stockholders from receiving their pro rata share of any
liquidation value in Fannie l\/lae or Freddie Mac.

51. On September ll, 2008, Fannie l\/lae filed with the SEC a Form 8-K disclosing
further details regarding its conservatorship and Preferred Stock Purchase Agreement with the
Treasury Department Among other things this Form 8-K stated that “FHFA, as Conservator,
has the power to repudiate contracts entered into by Fannie l\/Iae prior to the appointment of
FHFA as Conservator if FHFA determines in its sole discretion, that performance of the contract
is burdensome and that repudiation of the contract promotes the orderly administration of Fannie
Mae’s affairs FHFA’s right to repudiate any contract must be exercised within a reasonable
period of time after its appointment as Conservator.” FHFA did not, either within a reasonable
period of time of its appointment as Conservator or at any other time before August 17, 2012,

purport to repudiate any of the contracts governing the issuance by Fannie Mae and Freddie l\/Iac

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of the various series of preferred stock listed above and now described as the Junior Preferred
Stock. No such repudiation occurred until the imposition of the Net Worth Sweep on August 17,
2012, which was not a reasonable period of time following the appointment of FHFA as
Conservator for Fannie and Freddie.

52. ln summarizing the terms applicable to the Senior Preferred Stock issued to
Treasury, the Form 8-K stated:

The Senior Preferred Stock ranks prior to Fannie l\/lae common
stock and all outstanding series of Fannie Mae preferred stock
(which are listed in ltem 3.03 above), as well as any Fannie Mae
capital stock issued in the future, as to both dividends and rights
upon liquidation. The Certificate of Designation for the Senior
Preferred Stock provides that Fannie l\/lae may not, at any time,
declare or pay dividends on, make distributions with respect to, or
redeem, purchase or acquire, or make a liquidation payment with
respect to, any common stock or other securities ranking junior to
the Senior Preferred Stock unless (a) full cumulative dividends on
the outstanding Senior Preferred Stock in respect of the then-
current dividend period and all past dividend periods (including
any unpaid dividends added to the liquidation preference) have
been declared and paid in cash, and (b) all amounts required to be
paid with the net proceeds of any issuance of capital stock for cash
have been paid in cash.

(Emphasis added).

53. Thus, the terms of the Agreements governing the Senior Preferred Stock issued to
Treasury (as summarized in the Form 8-K) contemplated that it would be possible to pay
dividends to the Junior Preferred Stockholders so long as all cumulative dividends had been paid
in cash on the Senior Preferred Stock and Treasury’s “Commitment” to provide funding had
terminated, e. g , in connection with redemption of the Senior Preferred Stock.

54. The Form 8-K’s summary of the Agreements governing the Senior Preferred

Stock also contemplated that the Senior Preferred Stock would be redeemed at some future date

in connection with the termination of the rl`reasury’s “Commitment” to provide funding: “lf after

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termination of the Commitment, Fannie l\/lae pays down the liquidation preference of each
outstanding share of Senior Preferred Stock in full, the shares will be deemed to have been
redeemed as of the payment date.”

Fannie Mac and Freddie Mac’s Debt to the Government
Balloons to More Than 8188 Billion

55. Since Fannie l\/lae and Freddie l\/lac have been in conservatorship, the Treasury
Department has caused Fannie Mae and Freddie l\/lac to draw billions of dollars from the
Government The funds drawn from the Government have been added to the original 81 billion
face value of the Government’s Senior Preferred Stock in each of Fannie l\/lae and Freddie l\/lac,
and have thereby increased exponentially the amount Fannie l\/lae and Freddie Mac must
eventually pay the Government to redeem their respective Senior Preferred Stock. To a large
degree, the billions in dollars of funding from Treasury reflects (a) excessive write downs of the
assets held by F annie and Freddie which triggered losses that are now being reversed, as it turns
out that these assets were worth substantially more than their written down values; and (b) the
need to borrow cash from Treasury in order to pay Treasury its 10% annual coupon on its Senior
Preferred Stock.

56. On February 26, 2009, Fannie l\/lae filed with the SEC its Form lO-K for the fiscal
year ended December 31, 2008, which disclosed that “[a]t December 31, 2008, our total
liabilities exceeded our total assets as reflected on our consolidated balance sheet, by 815.2
billion,” and therefore “[t]he Director of FHFA submitted a request on February 25, 2009 for
funds from Treasury on our behalf under the terms of the senior preferred stock purchase
agreement to eliminate our net worth deficit as of December 31, 2008. . . . Accordingly, the
amount of the aggregate liquidation preference of the senior preferred stock will increase to

816.2 billion as a result of our expected draw.”

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57. On March ll, 2009, Freddie l\/lac filed with the SEC its Form lO-K for the fiscal
year ended December 31, 2008, which disclosed that “[t]he Director of FHFA has submitted a
draw request to Treasury under the Purchase Agreemeiit in the amount of 830.8 billion, which
we expect to receive in March 2009. When this draw is received . . . the aggregate liquidation
preference of the senior preferred stock will increase from 81.0 billion as of September 8, 2008
to 845.6 billion.”

58. On February 24, 2010, Freddie Mac filed with the SEC its Form lO-K for the
fiscal year ended December 31, 2009, which disclosed that “[a]s a result of draws under the
Purchase Agreement, the aggregate liquidation preference of the senior preferred stock has
increased from 81.0 billion as of September 8, 2008 to 851.7 billion as of December 31, 2009.”

59. On February 26, 2010, Fannie l\/lae filed with the SEC its Form 10-K for the fiscal
year ended December 31, 2009, which disclosed that “the aggregate liquidation preference of the
senior preferred stock was 860.9 billion as of December 31, 2009 and will increase to
876.2 billion as a result of FHFA’s request on our behalf for funds to eliminate our net worth
deficit as of December 31, 2009.”

60.y On February 24, 2011, Fannie l\/lae filed with the SEC its Form 10-K for the fiscal
year ended December 31, 2010, which disclosed that “the aggregate liquidation preference of the
senior preferred stock was 888.6 billion as of December 31, 2010 and will increase to 891.2
billion as a result of FHFA’s request on our behalf for funds to eliminate our net worth deficit as
of December 31, 2010.”

61. On February 24, 2011, Freddie l\/lac filed with the SEC its Form lO-K for the
fiscal year ended December 31, 2010, which disclosed that “[t]he draws received during 2010

increased the aggregate liquidation preference of the senior preferred stock to 864.2 billion at

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December 31, 2010 from 851.7 billion at December 31, 2009. To address our net worth deficit
of 8401 million as of December 31, 2010, FHFA, as Conservator, will submit a draw request, on
our behalf, to Treasury under the Purchase Agreement in the amount of 8500 million. Upon
funding of the draw request . . '. our aggregate funding received from Treasury under the
Purchase Agreement will increase to 863.7 billion.”

62. On February 29, 2012, F annie Mae filed with the SEC its Form lO-K for the fiscal
year ended December 31, 2011, which disclosed that “the aggregate liquidation preference of the
senior preferred stock was 8112.6 billion as of December 31, 2011 and will increase to 8117.1
billion as a result of FHFA’s request on our behalf for funds to eliminate our net worth deficit as
of December 31, 2011.”

63. On l\/larch 9, 2012, Freddie Mac filed with the SEC its Form lO-K for the fiscal
year ended December 31, 2011, which disclosed that “[w]e had a net worth deficit of 8146
million as of December 31, 2011, and, as a result, FHFA, as Conservator, will submit a draw
request, on our behalf, to Treasury under the Purchase Agreement in the amount of 8146 million.
Upon funding of the draw request . . . our aggregate liquidation preference on the senior
preferred stock owned by Treasury will increase to 872.3 billion.”

64. Thus, as of the beginning of 2012, Fannie Mae’s cost to redeem the Government’s
Senior Preferred Stock in Fannie had ballooned from the original 81 billion to 8117.1 billion, and
Freddie l\/lac’s cost to redeem the Government’s Senior Preferred Stock in Freddie had increased
from the original 81 billion to 872.3 billion_resulting in a total face amount (and liquidation
preference) for the Government’s Senior Preferred Stock in both Fannie and Freddie of

approximately 8189.4 billion.

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65. Nevertheless, while the Treasury’s large infusions of cash into Fannie and Freddie
created substantial priority rights for the Senior Preferred Stock, it did not eliminate the rights of
the Junior Preferred Stock, which continued to be entitled to dividends payable after all
dividends paid on the Senior Preferred Stock, and to a liquidation preference after the liquidation
preference on the Senior Preferred Stock was satisfied For example, as of March 31, 2013, the
aggregate liquidation preference of all of the Junior Preferred Stock in Fannie and Freddie was
approximately 833 billion. As shown below, the growing profitability of Fannie and Freddie
during 2012 soon confirmed that, despite being junior to the Treasury’s Senior Preferred Stock,
the Junior Preferred Stock was worth billions of dollars

Fannie Mae and Freddie Mac Become Prof"itable

66. After three years in conservatorship, both Fannie Mae and Freddie Mac began to
` report significant profits reflecting the recovery of the broader housing market and the increased
value of the assets that both Fannie and Freddie had been forced to write down. Thus by the
first quarter of 2012, Fannie l\/lae had no need to draw additional funds from the Government
because instead of generating losses it began generating profits

67. On l\/lay 9, 2012, Fannie l\/lae filed with the SEC its Form lO-Q for the first
quarter of 2012, which disclosed Fannie Mae’s first quarterly profit since before the
conservatorship ln the Form 10-Q Fannie l\/lae reported “total comprehensive income of 83.1
billion in the first quarter of 2012, consisting of net income of 82.7 billion and other
comprehensive income of 8362 million” and “net worth of 8268 million as of March 31, 2012
[which] reflects our total comprehensive income of 83.1 billion largely offset by our payment to
Treasury of 82.8 billion in senior preferred stock dividends during the first quarter of 2012.”

Fannie l\/lae further reported that “[a]s a result of our positive net worth as of l\/larch 31, 2012, we

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will not request a draw this quarter from Treasury under the senior preferred stock purchase
agreement.”

68. Fannie l\/fae’s profitability grew in the second quarter of 2012. On August 8,
2012, Fannie Mae filed with the SEC its Form 10~Q for the second quarter of 2012, in which
Fannie l\/lae reported “comprehensive income of 85.4 billion in the second quarter of 2012,
consisting of net income of 85.1 billion and other comprehensive income of 8328 million” and
“net worth of 82.8 billion as of June 30, 2012 [which] reflects our comprehensive income of 88.5
billion offset by our payment to Treasury of 85.8 billion in senior preferred stock dividends
during the first half of 2012. . . . As a result of our positive net worth as of June 30, 2012, we are
not requesting a draw from Treasury under the senior preferred stock purchase agreement.”

69. Although Freddie l\/lac was also in conservatorship and had to draw on the
Government’s funding commitment to pay the Government dividends on the Government’s
senior preferred stock, Freddie l\/lac was able to generate quarterly profits for certain quarters
even before 2012. For example, in its Form 10~Q for the quarter ended June 30, 2009, filed with
the SEC on August 7, 2009, Freddie Mac reported a quarterly profit of 8800 million, and in its
Form 10~Q for the quarter ended l\/larch 30, 2011, filed with the SEC on l\/lay 4, 2011, Freddie
l\/lac reported a quarterly profit of 82.7 billion.

70. By the first quarter of 2012, Freddie Mac began to generate quarterly profits on a
consistent basis ln its Form 10~Q for the quarter ended l\/larch 30, 2012, filed with the SEC on
May 3, 2012, Freddie l\/lac reported a quarterly profit of 81 .8 billion, and in its Form lO-Q for the
quarter ended June 30, 2012, filed with the SEC on August 7, 2012, Freddie Mac reported a

quarterly profit of 82.9 billion.

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The Net Worth Sweep

71. With Fannie l\/lae and Freddie l\/lac’s return to consistent profitability the holders
of Fannie l\/lae and Freddie Mac Junior Preferred Stock began to see some light at the end of the
tunnel. Although Fannie Mae and Freddie l\/lac were still in conservatorship, Fannie l\/fae and
Freddie l\/lac’s rapidly growing profitability and net worth gave the lunior Preferred
Stockholders reason to believe that Fannie Mae and Freddie l\/lac would soon be financially
healthy enough to begin paying dividends on the Junior Preferred Stock even after paying the
10% annual dividend on the Treasury’s Senior Preferred Stock (as Fannie and Freddie were able
to do as of no later than the second quarter of 2012), or to redeem the Government’s Senior
Preferred Stock, exit conservatorship, and resume paying regular dividends on the Junior
Preferred Stock. Alternatively, even if Fannie and Freddie were gradually wound down or
liquidated, their profitability reflected the value of their underlying assets and any reasonable
liquidation would generate more than enough value to pay off the Senior Preferred Stock held by
the Treasury while yielding substantial additional value for the holders of Junior Preferred Stock.

72. Thus the return of Fannie and Freddie to substantial and consistent profitability in
2012 led to an increase in the trading prices of the Fannie Mae and Freddie Mac Junior Preferred
Stock, which began to increase substantially on average by 83% and 86%, respectively, from the
beginning of May 2012 to August 2012, as demonstrated below:

Fannie Mac

 

 

 

 

Series 5/1/12 Closing Price 8/16/12 Closing Price % Change
F 81.95 83.25 +67%
G 81.95 83.31 +70%
H 81.95 83.50 +79%

 

 

 

 

 

 

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l 82.05 83.42 +67%
L 81.80 83.40 +89%
M 81.81 83.22 +78%
N 81 .82 83.25 +79%
O 82.11 83.30 +56%
P 81.04 8l.90 +83%
Q 80.98 81.99 +115%
R 81.01 81.95 +93%
S 81.19 82.35 +97%
T 81.30 82.65 +104%
Freddie Mac
Series 5/1/12 Closing Price 8/16/12 Closing Price % Change
B 81.80 83.18 +77%
5.8198 $1_55 $3.30 +11396
(1997)
F 81.80 83.45 +92%
G 81.80 83.25 +81%
H 8l.90 83.55 +87%
5-3% $i.so $3.95 +119%
(1998)

 

 

 

 

 

 

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5-1% $2.75 32.90 +5%
(1999)

i< si.ss s3.55 +94%
L $2.00 s3.30 +65%
M s1 .82 s3.00 +65%
N s1.95 s3.30 +69%
o size 33.35 +83%
P si.90 s3.93 +107%
Q $i.ss j s3.24 +75%
R $1.82 33.95 +117%

 

5.81% No historical data No historical data N/A

 

 

 

 

 

 

 

 

(2002)

s $2.00 s3.20 +60%
T $1.85 s3.85 +ios%
U $i.25 s2.30 +84%
v $1.25 32.20 +76%
w $i.oi si.90 +ss%
x si.oi si.se +84%
Y $1.03 sz.ii +105%
z $i.is s2.83 +140%

 

 

 

 

 

 

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73. lndeed, even the increased prices for the Junior Preferred Stock shown above
likely understated the true value of the Junior Preferred Stock as of August 2012. The Junior
Preferred Stock had been de-listed during the conservatorship, leading to a less liquid market that
in many instances fails to reflect accurately the true value of the underlying security
Nevertheless the overall increase in pricing did reflect the clear market reality that Fannie and
Freddie had become profitable again, there was (and is) every reason to believe that profitability
will continue and increase over time, and their combined profits would be more than sufficient to
satisfy all financial obligations attributable to the Senior Preferred Stock (whether through
ongoing dividends redemptions liquidation preferences or otherwise) while still yielding
substantial additional value for the Junior Preferred Stockholders

74. The optimistic mood came to a crashing halt on August 17, 2012, when the
'l`reasury Department issued a news release announcing that Fannie and Freddie had agreed to a
Third Amendment to the Senior Preferred Stock Agreements that, among other things increased
the dividends Fannie l\/lae and Freddie l\/lac are required to pay the Government from 10% of the
value of the Senior Preferred Stock to an unlimited amount equal to Fannie Mac and Freddie
Mac’s entire net worth.

75. The Treasury described the terms of this Third Amendment, described herein as
the “Net Worth Sweep,” as a “Full Income Sweep ofAll Future Fannie Mae and Freddie Mac
Earnings to Benefit Taxpayers for Their Investment,” and stated that “The agreements will
replace the 10 percent dividend payments made to Treasury on its preferred stock investments
in F annie Mae and Freddie Mac with a quarterly sweep of every dollar of profit that each firm
earns going forward.” Specifically, as shown below, the Net Worth Sweep provides that

beginning as of January 1, 2013, Fannie and Freddie must pay Treasury a quarterly dividend

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equal to their entire net worth, minus a capital reserve amount that starts at 83 billion and
decreases to 80 by January l, 2018. This means that any increase in the net worth of Fannie or
Freddie flowing from net income or other comprehensive income will automatically be swept to
the Treasury in its entirety, no matter how large that increase in net worth is or how much it
exceeds the 10% dividend provided for in the Agreements governing the Senior Preferred Stock.

76. The Treasury stated that one of the objectives of the Net Worth Sweep was
“Making sure that every dollar of earnings that F annie Mae and Freddie Mac generate will be
used to benefit taxpayers for their investment in those firms.” ln other words the purpose was
to take any and all profits of Fannie and Freddie, no matter how much they exceeded the actual
rights given to Treasury through its Senior Preferred Stock, and to leave absolutely nothing for
the holders of the Junior Preferred Stock.

77. The Treasury also stated that the Net Worth Sweep was designed to fulfill the
“the commitment made in the Administration 's 2011 White Paper that the GSEs will be wound
down and will not be allowed to retain profits rebuild capital, and return to the market in their
prior form.” Thus, the Treasury’s intent is to ensure that Fannie and Freddie can never generate
profits for the holders of the Junior Preferred Stockholders

78. The 'l`reasury also stated that the Net Worth Sweep would require Fannie and
Freddie to wind down their mortgage portfolios at a faster rate than previously required:

Accelerated Wind Down of the Retained Mortgage ]nvestment
Portfolios at F annie Mae and Freddie Mac

The agreements require an accelerated reduction of Fannie Mae
and Freddie Mac's investment portfolios. Those portfolios will
now be wound down at an annual rate of 15 percent - an increase
from the 10 percent annual reduction required in the previous
agreements As a result of this change, the GSEs' investment
portfolios must be reduced to the 8250 billion target set in the
previous agreements four years earlier than previously scheduled

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79. Also on August 17, 2012, Fannie l\/lae filed with the SEC a Form 8-K disclosing
further details of the Third Amendment to the Agreement and the Net Worth Sweep:

For each dividend period from January 1, 2013 through and
including December 31, 2017, the dividend amount will be the
amount, if any, by which our net worth as of the end of the
immediately preceding fiscal quarter exceeds an applicable
capital reserve amount. T he applicable capital reserve amount
will be $3 billion for 2013 and will be reduced by $600 million
each year until it reaches zero on January 1, 2018. For each
dividend period thereafter, the dividend amount will be the amount
of our net worth, if any, as of the end of the immediately preceding
fiscal quarter.

Our net worth as defined by the agreement is the amount, if any,
by which our total assets (excluding Treasury’s funding
commitment and any unfunded amounts related to the
commitment) exceed our total liabilities (excluding any obligation
in respect of capital stock), in each case as reflected on our balance
sheet prepared in accordance with generally accepted accounting
principles lf we do not have a positive net worth or if our net
worth does not exceed the applicable capital reserve amount as of
the end of a fiscal quarter, then no dividend amount will accrue or
be payable for the applicable dividend period.

>l<$*

ln addition to the above-described amendments the amendment

also requires that Fannie l\/lae amend or replace the existing

Certificate of Designation for the senior preferred stock to reflect

the revised dividend payment provisions described above by no

later than September 30, 2012.

(Empliasis added).

80. The Net Worth Sweep eliminates the entire economic value of the Junior

Preferred Stock. lt literally appropriates for the benefit of the Treasury all of the economic value
that could ever be paid out on the Junior Preferred Stock, and makes it impossible for the Junior

Preferred Stock ever to receive a dividend or any other form of distribution from either Fannie or

Freddie, whether in liquidation or otherwise. lt therefore understandably had a devastating effect

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on the over-the-counter trading prices of shares of the Fannie Mae and Freddie l\/lac lunior
Preferred Stock series all of which immediately collapsed by well over 50% the day the Net
Worth Sweep was announced

Fannie Mae and Freddie Mac and Their Conservator FHFA Breached
The Contractual Obligations to the Junior Preferred Stockholders

81. Through the Third Amendment, Fannie and Freddie and their Conservator FHFA
eliminated the Junior Preferred Stockholders’ contractual rights to receive dividends before the
Government could receive any dividends in excess of its 10% cumulative dividend on the Senior
Preferred stock, and to receive a pro rata distribution of any liquidation proceeds available after
the Government received full recovery of the face amount of the Senior Preferred Stock. Thus,
the Third Amendment constituted an amendment, alteration, and repeal of the terms of the
Certificates e.g., the contractual terms governing the holders’ rights to receive dividends and
liquidation distributions in a manner that materially and adversely affected ~ indeed, totally
obliterated - the rights and interests of the holders of the Junior Preferred Stock.

82. ln breach of the terms of the Certificates Fannie and Freddie and their
Conservator FHFA amended, altered and repealed the terms of the Certificates in a manner that
materially and adversely affected the rights and interests of the holders of the Junior Preferred
Stock without seeking or obtaining the consent of two-thirds of the Junior Preferred Stockholders
as required by Section 7(c) of the Fannie Certificate and Section 9(h)(ii) of the Freddie
Certificate.

83. Fannie and Freddie’s agreement to the Net Worth Sweep did not purport to be the
creation and issuance of any other class or series of Fannie Mae or Freddie l\/lac stock, nor did it
purport to be an increase in the authorized or issued amount of any other class or series of Fannie

Mae or Freddie Mac stock. Rather, the Net Worth Sweep to which Fannie and Freddie agreed in

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August 2012 was described merely as an amendment to the terms of the Senior Preferred Stock
that Fannie and Freddie had issued in September 2008. Accordingly, the amendment, alteration,
and repeal of the terms of the Certificates via Fannie and Freddie’s agreement to the Net Worth
Sweep cannot be deemed exempt from the two-thirds vote requirement set forth in Section 7(0)
of the F annie Certificate and Section 9(h)(ii) of the Freddie Certificate

84. ln addition to their explicit terms inherent in the Certificates was an implied
covenant by Fannie and Freddie to deal fairly with the Junior Preferred Stockholders and to
fulfill the issuers’ contractual obligations in good faith, e.g., an implied promise that Fannie and
Freddie would not take actions that would make it impossible for the Junior Preferred
Stockholders to realize any value from their dividend and liquidation rights

85 . Fannie and Freddie and their Conservator FHFA acted unfairly and in bad faith
with respect to the Junior Preferred Stockholders and breached their implied covenant of good
faith and fair dealing by agreeing to the Net Worth Sweep, the purpose and effect of which was
to make it impossible for the Junior Preferred Stockholders to realize any value from their
dividend and liquidation rights and thus to deny the Junior Preferred Stockholders the fruits of
their contracts with Fannie and Freddie.

86. As a direct and proximate result of the foregoing breaches Plaintiffs and the Class
have been deprived of the entire economic value of the lunior Preferred Stock.

COUNT I

Against Fannie Mae, Freddie Mac, and FHFA, as Conservator of Fannie and Freddie
for Breach of Contract

87. Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

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88. The Certificates are contracts between the holders of Junior Preferred Stock, i.e.,
Plaintiffs and the members of the Class and Fannie and Freddie.

89. Fannie, Freddie, and their Conservator FHFA breached the terms of the
Certificates by amending, altering, and repealing the terms of the Certificates in a manner that
materially and adversely affected the rights and interests of Plaintiffs and the members of the
Class without seeking or obtaining the consent of Plaintiffs and the members of the Class as
alleged herein.

90. As a direct and proximate result of the foregoing breach of contract, Plaintiffs and
the members of the Class sustained damages as alleged herein.

COUNT II

Against Fannie Mae, Freddie Mac, and FHFA, as Conservator of Fannie and Freddie
for Breach of the Implied Covenant of Good Faith and Fair Dealing

91. Plaintiffs incorporate by reference and reallege each and every allegation set forth
above, as though fully set forth herein.

92. lnherent in the Certificates was an implied covenant by Fannie and Freddie to
deal fairly with the holders of Junior Preferred Stock, i.e., Plaintiffs and the members of the
Class and to fulfill their contractual obligations in good faith, e.g., an implied promise not to
take actions that would make it impossible for Plaintiffs and the members of the Class to realize
any value from their dividend and liquidation rights

93. Fannie, Freddie, and their Conservator FHFA acted unfairly and in bad faith with
respect to the Junior Preferred Stockholders and breached their implied covenant of good faith
and fair dealing by agreeing to the Net Worth Sweep, the purpose and effect of which was to

make it impossible for the Junior Preferred Stockholders to realize any value from their dividend

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and liquidation rights and thus to deny the Junior Preferred Stockholders the fruits of their
contracts with Fannie and Freddie, as alleged herein.

94. As a direct and proximate result of the foregoing breach of the implied covenant
of good faith and fair dealing, Plaintiffs and the members of the Class have sustained damages
as alleged herein.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs demand judgment as follows:

A. Certifying this action as a class action and Plaintiffs as Class
representatives
B. Awarding Plaintiffs and the Class the amount of damages they sustained

as a result of defendants’ breaches of contract and breaches of the implied
covenant of good faith and fair dealing;

C. Granting appropriate equitable and injunctive relief to remedy defendants’
breaches of contract and breaches of the implied covenant of good faith
and fair dealing;

D. Awarding Plaintiffs the costs and disbursements of the action, including
reasonable attorneys’ fees experts’ fees costs and other expenses and

E. Granting such other and further relief as the Court deems just and proper.
JURY TRIAL DEMANDED

Plaintiffs demand a trial by jury on all claims so triable.

Respectfully submitted,
BOIES, SCHILLER & FLEXNER LLP

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Date:

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July 29, 2013

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